Case
 Case9:20-cv-81367-WPD
      0:20-cv-61389-RNS Document
                        Document 16
                                 9 Entered
                                    Enteredon
                                            onFLSD
                                               FLSDDocket
                                                    Docket08/10/2020
                                                           11/30/2020 Page
                                                                       Page11ofof33




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 0:20-CV-61389-RNS

  HOWARD COHAN,

         Plaintiff,

  vs.


  CYPRESS GRANDE LLC, a Florida
  limited liability company d/b/a
  Fuzzy’s Taco Shop,

        Defendant(s).
  ____________________________________/

         JOINT MOTION FOR APPROVAL AND ENTRY OF CONSENT DECREE

         Plaintiff, HOWARD COHAN (hereinafter referred to as “Plaintiff”), and CYPRESS

  GRANDE LLC, a Florida limited liability company, d/b/a FUZZY’S TACO SHOP (hereinafter

  referred to as “Defendant”) (Plaintiff and Defendant jointly referenced herein as the “Parties”),

  by and through their respective undersigned counsel, hereby move for the Court’s approval and

  entry of the attached Consent Decree.

         1.      Plaintiff filed the instant cause of action alleging that the property at issue owned

  and/or operated by Defendant violated Title III of the Americans with Disabilities Act, 42 U.S.C.

  § 12181 et seq. (“Title III” of the “ADA”).

         2.      The matters raised by Plaintiff’s Complaint have been resolved in accordance

  with the Consent Decree attached hereto as Exhibit “A.”

         3.      The Parties agree and submit that the attached Consent Decree is fundamentally

  fair, adequate and reasonable to improve access for persons with disabilities at the properties at

  issue, and otherwise meets the purposes of Title III of the ADA. The Parties further agree that
Case
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                        Document 16
                                 9 Entered
                                    Enteredon
                                            onFLSD
                                               FLSDDocket
                                                    Docket08/10/2020
                                                           11/30/2020 Page
                                                                       Page22ofof33




  given the completion of the Modifications specified in the Consent Decree all currently readily

  achievable alterations to the Property have been made and that the Properties at the time of

  execution of this Consent Decree are otherwise in compliance with the readily achievable

  requirements of the ADA, ADAAG and FACBC.

         4.      In accordance therewith, the parties respectfully request that the Court review,

  approve and ratify the Consent Decree.       Additionally, the Parties request the Court retain

  jurisdiction to enforce the Consent Decree. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d

  1272, 1280 (11th Cir. 2012).

         WHEREFORE, the parties respectfully request that the Court grant this Motion; enter an

  order (a) approving and entering the attached Consent Decree, and (b) retaining jurisdiction to

  enforce the Consent Decree; and grant such additional relief as the Court deems just and proper.

  Dated: August 10, 2020                              Respectfully submitted,

     /s/ Gregory S. Sconzo                             /s/ William G. Salim, Jr.
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 Case9:20-cv-81367-WPD
      0:20-cv-61389-RNS Document
                        Document 16
                                 9 Entered
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                                            onFLSD
                                               FLSDDocket
                                                    Docket08/10/2020
                                                           11/30/2020 Page
                                                                       Page33ofof33




                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 10, 2020, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record or pro se parties identified on the attached Service List in
  the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.


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